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13                        UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
         KATHLEEN STEINLEY, MARTIN
15       HAROLD STEINLEY, and MARTIN
         ALEXANDER STEINLEY,
16       Individually and on behalf of others
         similarly situated.
17                                                  Case No. 2:18-cv-5458
                           Plaintiffs,
18
               v.                                   NOTICE OF REMOVAL
19
         HEALTH NET, INC., HEALTH NET
20       LIFE INSURANCE Co, HEALTH NET
         OF CALIFORNIA, INC., MANAGED
21       HEALTH NETWORK, INC., and
         CENTENE CORP.,
22
                           Defendants.
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     1         Pursuant to 28 U.S.C. §§ 1441, 1446, and 1453, defendants Health Net, Inc.,
     2   Health Net Life Insurance Co., Health Net of California, Inc., Managed Health
     3   Network, Inc., and Centene Corp. ("Defendants") give notice of the removal of the
     4   above-captioned matter to the United States District Court for the Central District
     5   of California. As grounds for removal, Defendants state as follows:
     6   I.    NATURE OF THE REMOVED CASE
     7         1.     On May 4, 2018, Plaintiffs filed the action captioned Kathleen
     8   Steinley, Martin Harold Steinley, and Martin Alexander Steinley, individually and
     9   on behalf of others similarly situated v. Health Net, Inc., Health Net Life Insurance
10       Co., Health Net of California, Inc., Managed Health Network, Inc., and Centene
11       Corp., in the Superior Court of California, County of Los Angeles. The case was
12       assigned Case Number BC702297.
13             2.     All Defendants were served on May 23, 2018.
14             3.     Plaintiffs allege that they were insureds under a Health Net Small
15       Business insurance policy starting on December 1, 2015 (hereinafter the "policy" or
16       "plan"). Compl.    40. Plaintiffs purchased this policy through the business of
17       Martin Harold Steinley ("Harold").
18             4.     Plaintiffs further allege that, when plaintiff Martin Alexander Steinley
19       ("Alex") required inpatient Behavioral Health/Substance Use Disorder
20       ("BH/SUD") treatment, they struggled to find a facility that would accept him. See
21       id.   45-71. The reason for this difficulty, Plaintiffs allege, is that Health Net did
22       not provide an adequate network of providers or adequate reimbursement for
23       treatment with an out-of-network provider. Id. Once Plaintiffs found a facility that
24       would accept Alex, Health Net allegedly refused to reimburse Plaintiffs and the
25       facility at the rates that the policy and California law required. Id. 12-1A.
26             5.     Based upon the above conduct, Plaintiffs bring six causes of action:
27                    a.     Violation of California's Unfair Competition Law, Cal. Bus. &
28                          Prof. Code § 17200 et seq., see Compl. ^ 119-120;
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  1                  b.     Violation of California's False Advertising Law, Cal. Bus. &
 2                         Prof. Code § 17200 etseq., see Compl. Tf 136;
 3                   c.    Violation of California's Consumer Legal Remedies Act, Cal.
  4                        Civ. Code § 1750 etseq., see Compl. f 147;
 5                   d.    Breach of Contract, Compl. Tj 163;
 6                   e.    Breach of the Implied Covenant of Good Faith and Fair Dealing,
  7                        id.   166; and
 8                   f.    Declaratory Relief, id. ^ 173.
 9             6.    Federal jurisdiction exists over this case for two independent reasons.
10     First, federal question jurisdiction exists because the Employee Retirement Income
11     Security Act of 1974 (ERISA) completely preempts at least one of Plaintiffs'
12     claims. Second, federal jurisdiction exists under the Class Action Fairness Act.
13     II.     THIS REMOVAL IS PROCEDURALLY PROPER
14             7.    This notice of removal is timely under 28 U.S.C. § 1446(b)(1), as the
15     date of filing is within 30 days of the date of service on all defendants, May 23,
16     2018.
17             8.    Venue is proper in the Central District of California under 28 U.S.C. §
18     1441(a) because the district encompasses Los Angeles County.
19             9.    All defendants consent to this removal.
20             10.   Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all of the
21     pleadings filed in the State Court are attached hereto as Exhibit A.
22             11.   A copy of the written notice required by 28 U.S.C. § 1446(d), attached
23     hereto as Exhibit B, is being filed in the State Court and will be served on Plaintiffs.
24     HI.     FEDERAL JURISDICTION EXISTS BECAUSE THIS CASE
25             PRESENTS A FEDERAL QUESTION UNDER ERISA
26             12.   The plan under which Plaintiffs purport to sue, which they purchased
27     through Harold's business, is governed by ERISA. Claims relating to the plan are
28     therefore "governed by the rights and remedies ERISA specifies." RaymondB.
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  1    Yates, M.D., P.C. Profit Sharing Plan v. Hendon, 541 U.S. 1, 6 (2004). Under
  2    ERISA, Harold is a participant in the plan, and Alex and Kathleen are beneficiaries.
 3           13.    Section 502 of ERISA, codified at 29 U.S.C. § 1132, specifies the
  4    rights and remedies available to Plaintiffs. Under Section 502(a)(1)(B), an ERISA
  5    plan participant or beneficiary may bring suit "to recover benefits due to him under
 6     the terms of his plan, to enforce his rights under the terms of the plan, or to clarify
  7    his rights to future benefits under the terms of the plan." 29 U.S.C. §
  8    1132(a)(1)(B).
 9           14.    "The purpose of ERISA is to provide a uniform regulatory regime over
10     employee benefit plans." Aetna Health Inc. v. Davila, 542 U.S. 200, 208 (2004).
11     Section 502(a) provides an "integrated enforcement mechanism" for achieving that
12     purpose. Id. To protect its uniform regime, ERISA preempts "any state law cause
13     of action that duplicates, supplements, or supplants the ERISA civil enforcement
14     remedy." Id. at 209. Section 502 does this by "convert[ing] state causes of action
15     into federal ones," including "for purposes of determining the propriety of
16     removal." Id. Thus, where a plaintiffs claim is subject to preemption under
17     section 502(a), that claim presents a removable federal question, no matter what
18     label the plaintiff gives it. Metropolitan Life Ins. Co. v. Taylor, 481 U.S. 58, 66
19     (1987).
20           15.    Courts apply a two-part test, derived from Davila, for determining
21     whether a claim is completely preempted by ERISA. First, the court asks whether
22     the plaintiff, "at some point in time, could have brought the claim under" section
23     502. Fossen v. Blue Cross and Blue Shield of Mont., Inc., 660 F.3d 1102, 1108 (9th
24     Cir. 2011) (internal quotation marks omitted). If so, then the claim is completely
25     preempted if "there is no other independent legal duty that is implicated by a
26     defendant's actions." Id. If one claim is preempted, then that claim presents a
27     federal question and the case is removable. Melamed v. Blue Cross of Cal, 557 F.
28     App'x 659, 661 (9th Cir. Feb. 12, 2014) (unpublished).
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  1          16.      ERISA completely preempts all of Plaintiffs' claims. This is most
  2    clear with respect to Plaintiffs' breach of contract and breach of implied covenant
 3     of good faith and fair dealing claims.
 4           17.      As to the first Davila prong, both claims could be brought under
 5     Section 502.
 6           18.      The contract and implied covenant claims seek "to recover benefits
  7    due to [plaintiffs] under the terms of [the] plan." 29 U.S.C. § 1132(a)(1)(B). In the
  8    breach of contract count, Plaintiffs allege that Defendants "breached the terms and
 9     provisions" of the policy by "paying less for medical services" than the policy
10     required. Compl. f 163. They are suing to recover their alleged increased "out of
11     pocket expenses" to pay amounts they contend should have been covered under the
12     policy. Compl. ]j 73. Likewise, in the implied covenant count, Plaintiffs state that
13     they have "suffered damages under [their] PPO Polic[y]" on account of those same
14     alleged breaches. Id.    168.
15           19.      The second Davila prong is met as well, as the "legal duty" implicated
16     by these claims stems from the ERISA plan. Fossen, 660 F.3d at 1108. Where the
17     "factual basis for relief pleaded in [the] complaint" relates to the refusal of a plan
18     administrator "to reimburse [plaintiff] for the . . . care he received," the relevant
19     duty stems from ERISA, and ERISA preempts the cause of action. Cleghorn v.
20     Blue Shield of Cal, 408 F.3d 1222, 1226 (9th Cir. 2005); see also Durham v.
21     Prudential Ins. Co. of Am., 236 F. Supp. 3d 1140, 1149 (C.D. Cal. 2017) (breach of
22     contract and breach of implied covenant of good faith and fair dealing claims
23     preempted because "duties with respect to reviewing and deciding benefit claims in
24     ERISA-govemed benefit plans are covered exclusively by ERISA"); Leonard v.
25     MetLifelns. Co., No. 2:12-cv-10003, 2013 WL 12210177, at *5 (C.D. Cal. Feb. 25,
26     2013) ("The duties imposed by the implied covenant of good faith and fair dealing
27     do not arise independently of ERISA or the plan terms.").
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  1          20.      Accordingly, these claims are completely preempted by ERISA
  2    Section 502, and this case therefore presents a federal question.
  3    IV.   FEDERAL JURISDICTION EXISTS UNDER CAFA
  4          21.      CAFA grants district courts original jurisdiction over class actions
  5    where there is minimal diversity, the putative class contains at least 100 members,
  6    and the amount in controversy exceeds $5 million. 28 U.S.C. § 1332(d)(2), (5).
  7    For notice of removal purposes, the defendant need only make "a plausible
  8    allegation that the amount in controversy exceeds the jurisdictional threshold."
  9    Dart Cherokee Basin Operating Co. v. Owens, 135 S. Ct. 547, 554 (2014).
10           22.      Plaintiffs are all California citizens. Compl. ^ 1.
11           23.      Defendant Centene Corporation is a Delaware corporation whose
12     principal place of business is in Missouri. Compl. f 6. Centene Corporation is
13     therefore a citizen of Delaware and Missouri.
14           24.      The minimal diversity requirement is met, because Centene
15     Corporation is not a citizen of the same state as the Plaintiffs. See 28 U.S.C. §
16     1332(d)(2)(A).
17           25.      Plaintiffs define their proposed class as "[a]ll California residents who
18     purchased a Health Net PPO Policy on or after October 1, 2013." Compl. ^ 106.
19     Plaintiffs allege that the class contains "thousands of persons." Compl. f 108.
20     Therefore, the proposed class, if one is determined by this Court to exist, has more
21     than 100 members.
22           26.      Defendants deny that Plaintiffs are entitled to any relief, but for
23     amount-in-controversy purposes, the Court must assume that Plaintiffs succeed on
24     their claims. See Lewis v. Verizon Comm 'ns, Inc., 627 F.3d 395, 400 (9th Cir.
25     2010) ("The amount in controversy is simply an estimate of the total amount in
26     dispute, not a prospective assessment of defendant's liability."). Under this
27     standard, Plaintiffs' complaint meets the $5 million amount-in-controversy
28     requirement.
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  1            27.   Plaintiffs allege that Defendants used inapplicable reimbursement rates
  2    that allowed them to underpay for BH/SUD care, thus increasing the class's out of
  3    pocket expenses. Compl. ^ 73. Plaintiffs allege that these reimbursement rates
  4    were too low by a figure of "approximately 70-80% of the providers' billed
  5    charges." Compl. ^ 24(f). They further allege that they suffered a "resulting
  6    increase in . . . out of pocket expenses" as a result of providers passing those
  7    unbilled amounts on to them. Id. Thus, Plaintiffs seek to recover for these alleged
  8    underpayments. See id.. Prayer for Relief^ 4 (requesting "damages" for "failure to
  9    provide coverage under the contracts").
10             28.   As an indication of what Plaintiffs consider the magnitude of the
11     alleged underpayments, Plaintiffs allege that Defendants had incurred a $390
12     million liability for unpaid BH/SUD claims by March 2016. Compl. f 92.1
13             29.   Plaintiffs also allege that plaintiffs have paid "inflated premiums." Id.
14         122. Defendants deny that Plaintiffs paid inflated premiums, but the premiums
15     paid by the class over the period for which Plaintiffs claim damages are many times
16     larger than $5 million. See Lewis, 627 F.3d at 399 (holding that amount in
17     controversy over claims of allegedly unauthorized billing included all billed
18     amounts; defendant did not need to make initial demonstration of which amounts
19     were unauthorized).
20             30.   Plaintiffs further request a declaration regarding the parties' respective
21     rights concerning, among other things, the reimbursement rate at which Defendants
22     will be obligated to pay future claims. Compl. ^ 173-174. "In actions seeking
23     declaratory or injunctive relief, it is well established that the amount in controversy
24     is measured by the value of the object of the litigation." Cohn v. Petsmart, Inc.,
25     281 F.3d 837, 840 (9th Cir. 2002) (internal quotation marks omitted). Defendants
26     1 While Defendants dispute that the $390 million reserve related entirely to
       BH/SUD claims, the allegations in the Complaint control for amount-in-
27     controversy purposes. See Cain v. Hartford Life and Accident Ins. Co., 890 F.
       Supp. 2d 1246,1249 (C.D. Cal. 2012) C'[A] court must assume that the allegations
28     of the complaint are true.").
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  1    deny that Plaintiffs are entitled to a declaration establishing a different payment
  2    methodology than the one they now use—a methodology the State of California has
  3    approved. But if a declaration were granted increasing Defendants' reimbursement
  4    rate, as Plaintiffs seek, then Defendants would be forced to increase their out-of-
  5    network BH/SUD reimbursements by over $5 million going forward.
  6             31.   Finally, Plaintiffs claim both punitive damages and attorneys' fees.
  7    See, e.g., Compl.     132, 157 (attorneys' fees); 139 (punitive damages).
  8    Defendants deny that Plaintiffs are entitled to punitive damages or attorneys' fees,
  9    but both are properly included in the amount in controversy. See, e.g., Adkins v.
10     J.B. Hunt Transport, Inc., 293 F. Supp. 3d 1140, 1147-48 (E.D. Cal. 2018). For
11     amount-in-controversy purposes, courts commonly consider punitive damages at a
12     one-to-one ratio to economic damages, see Sloan v. 1st Am. Auto. Sales Training,
13     No. 2:16-cv-5341, 2017 WL 1395479, at *3 (C.D. Cal. Apr. 17, 2017), and assume
14     attorneys' fees equal to 25% of economic damages, see Heejin Lim v. Helio, LLC,
15     No. 1 l-cv-9183, 2012 WL 359304, at *3 (C.D. Cal. Feb. 2, 2012).
16              32.   For the above reasons, CAFA provides jurisdiction over this case.
17     V.       CONCLUSION
18              Pursuant to 28 U.S.C. §§ 1441, 1446, and 1453, Defendants hereby remove
19     the above-captioned matter to the United States District Court for the Central
20     District of California.
21     Dated: June 19, 2018                MANATT, PHELPS & PHILLIPS, LLP
22
23
                                           By: /s/ John M. LeBlanc
24                                               John M. LeBlanc
                                                 Attorneys for Defendants
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